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                        EXHIBIT 1
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   ATTORNEYS AT LAW




                                              June 21, 2022


 Via Electronic Mail

 Amanda Vaughn, Esquire
 J.P. Cooney, Esquire
 Molly Gaston, Esquire
 U.S. Attorney’s Office
 555 4th Street NW
 Washington, D.C. 20530



         Re:     United States v. Stephen K. Bannon, Criminal No. 21-670 (CJN)


 Dear Counsel:

 We write to request all memoranda and other writings, whether public or not, that reflect
 consideration of the contempt of Congress referrals and decision(s) not to charge Mark Meadows
 and Dan Scavino with Contempt of Congress, in violation of 2 U.S.C. § 192. Please provide us
 with the documents by Friday, June 24, 2022, so that if not provided we can move to compel
 their production.

 As you know, at the March 16, 2022, hearing on our motion to compel production of such
 materials, Judge Carl J. Nichols ruled as follows:

         Specifically I will grant defendant’s motion to the extent it requests statements or
         writings reflecting official DOJ policy, such as an opinion of the Office of Legal Counsel
         or the position of an entire division or litigating group, whether those statements are
         public or not, if such writings relate to the department’s policy on prosecuting or not
         prosecuting government or former government officials raising executive privilege
         claims or defenses of immunity or similar issues.

 Hearing Tr. March 16, 2022 at 96 – 97.
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Thank you for your attention to this request.

                                                Sincerely,




                                                M. Evan Corcoran
                                                Counsel for Stephen K. Bannon




                                                   2
